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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES—GENERAL

  Case No.     CV 18-5741-DMG (PLAx)                                   Date     August 23, 2018

  Title Lucas R., et al. v. Alex Azar, et al.                                         Page     1 of 1

  Present: The Honorable      DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

               KANE TIEN                                               NOT REPORTED
               Deputy Clerk                                             Court Reporter

     Attorneys Present for Plaintiff(s)                        Attorneys Present for Defendant(s)
              None Present                                               None Present

  Proceedings: IN CHAMBERS - ORDER CONTINUING HEARING ON PLAINTIFFS’
               MOTION TO CERTIFY CLASS [25], MOTION FOR PRELIMINARY
               INJUNCTION [29], MOTION FOR PRELIMINARY INJUNCTION [48],
               AND DEFENDANTS’ MOTION TO DISMISS [51]

          On August 2, 2018, Plaintiffs filed a motion for class certification [Doc. # 25], which is
  currently set for a hearing on September 14, 2018 at 9:30 a.m. [Doc. # 45.] On August 3, 2018,
  Plaintiff Lucas R. filed a motion for a preliminary injunction, which is scheduled for a hearing on
  August 31, 2018 at 9:30 a.m. [Doc. # 29.] On August 17, 2018, Plaintiff Gabriela N. filed a
  motion for a preliminary injunction [Doc. # 48] and Defendants filed a motion to dismiss [Doc.
  # 51], both of which are scheduled for a hearing on September 14, 2018 at 9:30 a.m. On
  August 22, 2018, the parties filed a Joint Stipulation to continue the hearing on Plaintiffs’ class
  certification motion and Defendants’ motion to dismiss to September 21, 2018. [Doc. # 60.]

          Due to the Court’s calendar, the hearing on all four pending motions is CONTINUED to
  September 21, 2018 at 9:30 a.m. Plaintiffs’ reply to Defendants’ opposition to the motion for
  class certification shall be filed by August 31, 2018. Defendants’ opposition to Gabriela N.’s
  preliminary injunction motion shall be filed by August 29, 2018, and Gabriela N.’s reply thereto
  shall be filed by September 5, 2018. Plaintiffs’ opposition to Defendants’ motion to dismiss
  shall be filed by August 29, 2018, and Defendants’ reply thereto shall be filed by
  September 5, 2018.

  IT IS SO ORDERED.




  CV-90                              CIVIL MINUTES—GENERAL                    Initials of Deputy Clerk KT
